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C;WV_9R<_I9[JRH_U>[J>\><_WIJV_TUSTSV><_SRV>RW_>;U>>_

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              /IJV_ SYUW_ I9V_ T>UVSR9O_ MYUJV<J;WJSR_ S[>U_ ,O9JRWJE_ 9R<_ >DR<9RW_ GU_ WI>

TZUTSV>V_S@_WIJV_O9\VYJW_TZUVZ9RW_WS__1._^^_  _

             /I>_TUS[JVKSRV_S@_WIJV_SRV>RW_>;U>>_VI9OO_:>_:JR<JRH_YTSR_WI>_,9UWJ>V

             RWU]_S@_WIKV_SRV>RW_>;U>>_JV_JR_XI>_TY:OJ;_JRW>U>VW

             /IJV_SRV>RW_>;U>>_JV_GU_V>WWO>Q>RW_TYUTSV>V_SRO]_9R=_<S>V_RSW_;SRVWJWYW>_9R

9<QJVVJSR_ :]_>A?R<9RW_ S@_ 9R]_ S@_ WI>_ 9OO>H9WJSRV_ ;SRW9JR><_ JR_ WI>_ SQTO9JRW_ SU_ 9R]_ SWI>U_

TP>9<JRH_JR_WIJV_O9\VYJW_RSU_<S>V_JW_;SRVWJWZW>_9R]_@LR<JRH_S@_OJ9:JOJW]_9H9JRVW_>DR<9RW_

             /I>_,O9JRWJAB_JV_9;WJRH_9V_9_TUJ[9W>_9WWSUR>]_H>R>U9O_JR_:UJRHJRH_WIJV_O9\VYKW_9R=

>RGU;JRH_WI>__9R=_

             /IJV_ SRV>RW_ >;U>>_ VI9OO_ :>_ <>>Q><_ 9V_ 9<MY<J;9WJRH_ SR;>_ 9R<_ GU_ 9OO_ WI>

Q>UJWV_ S@_ >9;I_ 9R<_ >[>U]_ ;O9JQ_ Q9WW>U_ 9R<_ JVVY>_ WI9W_ \9V_ 9OO>H><_ SU_ ;SYO<_ I9[>_ :>>R_

9OO>H><_ :]_,O9JRWJE_:9V><_SR_ SU_ 9UJVJRH_ SYW_ S@_ SU_ JR_;SRR>;WJSR_\JWI_WI>_9OO>H9WJSRV_ JR_WI>_

SQTO9JRW_

               *+2_ /%-"+-!_ WI>_ SYUW_9TTUS[>V_WI>_ SRV>RW_>;U>>_ 9R<_JR_ <SJRH_ VS_

VT>;JF;9OO]_9<STWV_JW_9R<_Q9N>V_JW_9R_+U<>U_S@_WI>_SYUW _

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